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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MARIE MAYEROVA and ARIANA
 CHRETIEN, individually and on behalf of Case No. 18-cv- 11909-GCS-RSW
 all those similarly situated            Hon. George Caram Steeh
                                         Mag. R. Steven Whalen
              Plaintiffs,
 v.                                      DEFENDANTS’ SUPPLEMENTAL
                                              BRIEF IN OPPOSITION
 EASTERN MICHIGAN UNIVERSITY,             TO PLAINTIFFS’ MOTION FOR
 JAMES SMITH, SCOTT                        TEMPORARY RESTRAINING
 WETHERBEE, and THE BOARD OF             ORDER AND FOR PRELIMINARY
 REGENTS,                                           INJUNCTION

             Defendants.

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                                 I.    Introduction

       The “expert” opinion of Nancy Hogshead-Makar submitted by Plaintiffs at

 the close of the hearing (Plaintiffs’ Ex 120 or “Report”) does not provide any basis

 for a finding that Eastern Michigan University (“EMU” or the “University”)

 engaged in intentional discrimination that would support a private right of action

 under Title IX.1    There are two fundamental flaws with Hogshead-Maker’s

 analysis.

       First, Hogshead-Makar equates a “lack of compliance” with the OCR Policy

 Interpretation with intentional discrimination. The two are different animals, and

 only the latter may be the subject of a private right of action. This error is

 compounded by Hogshead-Makar reflexively equating any statistical disparity

 between the proportion of women students at EMU and the proportion of women

 student-athletes with intentional discrimination.     Hogshead-Makar’s theories,

 however, are barred by the explicit language of Title IX.

       Second, even if the OCR Policy Interpretation is the relevant measure of

 compliance, and lack of compliance can be the subject of a private right of action,



 1
    Plaintiffs did not attach Ms. Hogshead-Makar’s report to their Reply brief. It
 was produced prior to the July 17, 2018 hearing, after Defendants had filed their
 Motion to Exclude Expert Testimony (Dkt#30). At the July 17 hearing, the Court
 invited Defendants to respond to the report. (Transcript at 73-74). The transcript
 of the hearing is attached to Defendants’ Post-Hearing Proposed Findings of Fact
 and Conclusions of Law, which is being filed contemporaneously with this brief.

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 the Report misapplies the law and the facts to suggest that EMU is out of

 compliance with the Policy Interpretation when the evidence shows otherwise.

       Overall, the Court should reject any attempt by Plaintiffs to rely on Ms.

 Hogshead-Makar’s legal brief masquerading as expert report.

                                   II.   Argument

 A.    Hogshead-Makar’s Analysis is Based on Erroneous Legal Assumptions
       Permeating Hogshead-Makar’s analysis, and Plaintiffs’ case in general, is an

 assumption that any “noncompliance” with the OCR Policy Interpretation is

 sufficient to state a private right of action. However, private rights of action under

 Title IX are limited to claims of intentional discrimination, and not every failure to

 comply with a regulation or guidance constitutes intentional discrimination.

 Alexander v. Sandoval, 532 U.S. 275, 285-89 (2001). As described by Hogshead-

 Makar, the Policy Interpretation requires not merely the avoidance of intentional

 discrimination, which may be the subject of a private right of action, but also

 affirmative acts to promote and encourage women to become interested in sports to

 a level sufficient to support statistical parity. (See, e.g., Plaintiffs’ Exhibit 120,

 Report at p. 10 “Thus, [the policy guidance] requires that institutions make joint

 efforts to encourage interest and to create competition.”) But, failing to take

 affirmative action is not a form of intentional discrimination. Texas Dept. of

 Community Affairs v. Burdine, 450 U.S. 248, 258-59 (1981). The situation here is



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 comparable to the difference between Title VII, which bans intentional

 discrimination in employment for which there is a private right of action, and the

 affirmative action requirements of Executive Order 112462 under which no private

 right of action is allowed. Stefanovic v. Univ. of Tennessee, 935 F. Supp. 944, 948

 (E.D. Tenn. 1996) (“Executive Order 11246 does not create a private right of

 action for persons alleging employment discrimination.”). Even Hogshead-Makar

 admits that the Policy Interpretation, like Executive Order 11246, is in part

 aspirational by seeking to engage recipients of federal funding in efforts to

 affirmatively create more interest in women’s athletics than had historically been

 the case. (Ex. 120 at pp. 2 and 8).

       Plaintiffs’ and Hogshead-Makar’s attempt to equate any non-compliance

 with the Policy Interpretation with a finding of intentional discrimination is further

 undermined by their implicit assumption that any statistical disparity between the

 proportion of women who are student-athletes and the proportion of women who

 are students constitutes intentional discrimination. (See, e.g., Plaintiffs’ Exhibit

 120, Report at 3 (making the legal conclusion, based solely on relative numbers of

 male and female athletes, that “EMU is currently discriminating against its female



 2
   Executive Order 11246 requires government contractors to “take affirmative
 action to ensure that applicants are employed, and that employees are treated
 during employment, without regard to their race, color, religion, sex or national
 origin.”

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 students.…”).   Hogshead-Makar’s assumption is wholly inconsistent with the

 express provisions of Title IX.

       Section 901 of Title IX first provides that “[n]o person in the United States

 shall, on the basis of sex, be excluded from participation in, be denied the benefits

 of, or be subjected to discrimination under any education program or activity

 receiving Federal financial assistance.”      20 U.S.C. §1681(a).    The very next

 subsection expressly prohibits any finding of a violation based on mere statistical

 disparity:

       Nothing contained in subsection (a) of this section shall be interpreted
       to require any educational institution to grant preferential or disparate
       treatment to the members of one sex on account of an imbalance
       which may exist with respect to the total number or percentage of
       persons of that sex participating in or receiving the benefits of any
       federally supported program or activity, in comparison with the total
       number or percentage of persons of that sex in any community, state,
       section or other area….

 20 U.S.C. §1681(b). Equating statistical imbalance with intentional discrimination

 is a flaw that undermines the entirety of Plaintiffs’ case and Hogshead-Makar’s

 Report. See also Roberts v. Colorado State Bd. of Agriculture, 998 F.2d 824. 831

 (10th Cir. 1993) (“a Title IX violation may not be predicated solely on a disparity

 between the gender composition of an institution’s athletic program and the gender

 composition of its undergraduate enrollment”).




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 B.        Hogshead-Makar’s Analysis Ignores Critical Facts

           Even assuming that failure to comply with the OCR Policy Interpretation

 can be considered intentional discrimination for which a private right of action is

 allowed, Hogshead-Makar (and consequently Plaintiffs) ignore critical facts.

 Specifically, focusing solely on snapshots of raw numbers, they fail to take into

 account EMU’s past, present, and ongoing efforts to expand women’s participation

 opportunities. Their failure to consider these facts significantly undermines their

 likelihood of success on the merits and thus their request for mandatory injunctive

 relief.

           Plaintiffs concede that a university’s ongoing efforts to expand women’s

 athletic participation satisfies the three part test, but ignore the evidence of ongoing

 expansion of women’s opportunities that was presented.             The raw numbers

 demonstrate the effects of EMU’s ongoing effort to expand women’s participation

 opportunities. The March 2018 budget reductions were implemented in a manner

 designed to facilitate that ongoing expansion. The charts of male and female

 athletic participation attached to Plaintiff’s Reply Brief, and contained in

 Hogshead-Makar’s Report, demonstrate a trend line of growing women’s athletic




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 participation. (Dkt#17-1, Exhibit D – “Unduplicated”, PageID.329 and Dkt#71-2,

 Exhibit E – “Duplicated”, PageID.330).3

       For example, Plaintiffs’ Reply Exhibit E is a chart showing the number of

 duplicated women’s participation opportunities from 2003 through 2016. While

 there is expected annual fluctuation within those numbers, the average rate of

 participation has clearly been increasing. The five-year average of the “Count

 Women’s Participation” from 2007-2011 was 222.6 female participants. For the

 most recent five years on the chart, 2012-2016, the average numbers of female

 participants increased to 313.4. In short, EMU increased women’s average annual

 participation by 90 participation opportunities.4 Thus the trend line reflects a 40%

 (90/223) growth rate in women’s participation. As Vice President and Director of

 Athletics Scott Wetherbee testified, this growth was not the result of mere

 happenstance, but instead due to a five-year roster management plan that was in

 place before he arrived at EMU in 2017.

       Wetherbee testified that it is EMU’s intention to further expand women’s

 opportunities and manage its rosters to progressively bring the athletic

 participation rates into proportionality with the ratio of men and women in the


 3
   These charts were first submitted by Plaintiffs with their Reply Brief and were
 not submitted with their initial Motion or their Complaint.
 4
   The same is true of the “unduplicated” counts reflected on Plaintiffs’ Exhibit D.
 (Dkt#17-1, Exhibit D, PageID.329). From 2012-16, EMU had an average of 261.8
 women participants, compared with an average of 212.6 between 2007-11.

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 student body.    Attached to Wetherbee’s Declaration is additional information

 requested by the Court. (Ex 1, Wetherbee Declaration).            These documents

 demonstrate the increased participation in recent years, as well as projected

 participation rates through the 2022-23 academic year. As reflected in the charts,

 there has been continuing growth in women’s participation both in absolute

 numbers as well as a percentage of overall opportunities.5             Additionally,

 Wetherbee testified that the University’s existing plans are likely to lead to more

 women’s participation, constituting 58.81% (duplicated) or 59.93% (unduplicated)

 of athletic participation by 2023. The documents produced with his Declaration

 project the number of women’s participation opportunities to grow to 397 (with

 lacrosse), or 83 higher than the most recent five-year average discussed above

 (2012-16), or 174 more than the prior five-year average (2007-11).            (Ex 1,

 Wetherbee Declaration, ¶¶8-9).

       Wetherbee explained that the two women’s sports discontinued had a cost

 per participant that was well in excess of other male and female sports. As a result,

 their discontinuance would allow greater expansion of women’s opportunities in

 other women’s sports, such as crew, because those sports had much lower per

 participant costs. (Ex 1, Wetherbee Dec, ¶¶10-11 and Exhibit C).


 5
   Adding the actual duplicated numbers for 2016 and 2017 as well as the likely
 roster numbers for the upcoming year, increases the rolling five-year average for
 the period 2015-19 to 316.

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       Wetherbee further explained that he made the difficult budget decisions with

 a view to how those decisions would affect the ongoing, long-term plan to expand

 women’s participation. He stated why four sports (football, men’s basketball,

 women’s basketball and women’s volleyball) could not be eliminated without

 incurring massive financial penalties that would have threatened the existence of

 the entire sports program. (Transcript (Wetherbee) at 82-84). He further explained

 that the required budget reductions could not have been accomplished by

 eliminating solely men’s sports, and that by selecting women’s softball and tennis,

 he sought to affect the smallest number of women student-athletes possible, while

 still achieving the required budget targets. (Transcript (Wetherbee) at 80-85, 92).

       Wetherbee’s goal of minimizing the impact is supported by the numbers and

 methodology used by Plaintiffs. The sports selected for discontinuance had, at the

 time of the decisions, a total of 58 male student-athletes and 23 female student-

 athletes. Hogshead-Makar states that there were 314 male and 242 female athletes

 (unduplicated) prior to the cuts.    (Plaintiffs’ Ex 120 at 5). Thus, 18.47% of

 existing male student-athletes (58/314=18.47) but only 9.5% of existing female

 student-athletes (23/242=9.5) were adversely affected by the cuts. Thus, male

 student-athletes were adversely affected at double the rate at which female athletes

 were affected. Applying Plaintiffs’ methodology for calculating the “participation




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  gap,” the effect of the cuts was to reduce the gap from 224 to 163. A recalculation

  of the gap, using Plaintiffs’ methodology is shown on Exhibit 2, attached hereto.)6

        Plaintiffs, through Hogshead-Maker, opine that the absence of any

  intentional animus against women student-athletes is irrelevant because within the

  context of the trend of growing women’s participation rates, there were occasional

  one-year negative fluctuations. (Plaintiffs’ Ex 120 at p. 9). Hogshead-Makar

  asserts that “if participation for the underrepresented sex declines at any point

  during the 1975 through 2010 period … a Prong Two defense cannot be used …

  To be clear, EMU has lost this legal test forever; and it lost it before it cut

  women’s softball and tennis.” (Id.)

        Neither Hogshead-Makar nor Plaintiffs provide any citation to this

  extravagant claim about the state of the law. Nor do they consider the host of

  irreconcilable issues it would raise.     For example, given that the statute of

  limitations for private rights of action under Title IX is three years, how can

  something done anytime between 1975 and 2010 become the basis of a suit in

  2018? Nor do they explain why short term fluctuations, which can be caused by

  any number of factors unrelated to gender, should be automatically attributed to

  intentional sexual discrimination by the institution.


  6
    The recalculation shown on Exhibit 2 uses Plaintiffs’ statement that after the cuts
  there were 256 total male student-athletes and 217 total female student-athletes.
  (Plaintiffs’ Ex 120 at p. 16).

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        Hogshead-Makar’s interpretation of Prong Two is also contradicted by

  OCR. In a clarification of the Three-Part Test, OCR explains that the second part

  of the Three Part Test (“Prong Two”) considers “whether the institution can show a

  history and continuing practice of program expansion which is demonstrably

  responsive to the developing interest and abilities of the members of that sex.”

  (https://www2.ed.gov/about/offices/list/ocr/docs/clarific.html) “There are no fixed

  intervals of time within which an institution must have added participation

  opportunities. Neither is a particular number of sports dispositive.” (Id.) Among

  the factors that OCR considers under the second part is “an institution's record of

  increasing the numbers of participants in intercollegiate athletics who are

  members of the underrepresented sex.” (Id. (emphasis added)). Furthermore,

  eliminating a sports team for the underrepresented sex (here, women), does not

  prevent a university from relying on the second part test.           Instead, OCR’s

  clarification states, “In the event that an institution eliminated any team for the

  underrepresented sex, OCR would evaluate the circumstances surrounding this

  action in assessing whether the institution could satisfy part two of the test.” (Id.)

  Thus, “an institution that has eliminated some participation opportunities for the

  underrepresented sex can still meet part two if, overall, it can show a history and

  continuing practice of program expansion for that sex.”          (Id.)   Accordingly,




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  Hogshead-Makar’s report shows a complete disregard for OCR’s interpretation of

  its own regulations.

        Plaintiffs do not dispute the gender-neutral financial reasons that required a

  reduction in athletic spending. Likewise, they do not challenge the fact that the

  cuts fell more harshly on male student-athletes rather than female student-athletes.

  And, they ignore that the overall trend of female participation has been clearly

  positive despite some occasional bumps in the road, such as EMU’s current

  budgetary constraints. Instead, misconstruing both the law and the evidence, and

  using a cookie-cutter approach eschewed by OCR, they suggest that EMU is

  automatically liable regardless of anything it did (and regardless of intent) because

  the numbers of female student-athletes are not proportionate to its number of

  female students. (Plaintiffs’ Ex 120 at 16 (“if EMU were to keep the female sports

  programs while still dropping the male programs the numbers will reach 256 males

  and 242 females respectively. This number still falls short of the number required

  for Title IX compliance.”)).     A legal theory stating that even if EMU had

  exclusively eliminated male sports in spring 2018, it would still have committed

  intentional discrimination against women, is not grounded in reality.




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                                 III.   Conclusion

        For the foregoing reasons, in the event the Court does not grant Defendant’s

  Motion to Exclude Expert Testimony (Dkt#30), the Court should reject Ms.

  Hogshead-Makar’s legal analysis.

                                 Respectfully submitted,

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                             CERTIFICATE OF SERVICE

           I hereby certify that on July 31, 2018, I electronically filed the foregoing

  papers with the Clerk of the Court using the ECF system which will send

  notification of such filing to all attorneys of record.

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